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AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
District of Puerto Rico

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)

USPS parcel bearing tracking number 9505 5148 2378
3030 7400 75 (further described in Attachment A).

Case No. 23-117 (M)

ws YS Hw

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the - District of Puerto Rico

(identify the person or describe the property to be searched and give its location):

See Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B.

YOU ARE COMMANDED to execute this warrant on or before 2/17/2023 (not to exceed 14 days)
M in the daytime 6:00 a.m. to 10:00p.m. Oat any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Magistrate Judge on Duty
(United States Magistrate Judge)

© Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for days (not to exceed 30) © until, the facts justifying, the later specific date of

i ~ Ss Digitally signed by
2/3/2023 at 9:15 a.m. fk Sev, Hon. Bruce J.

McGiverin
Judge's signature

Date and time issued:

City and state: San Juan, Puerto Rico Hon. Bruce J. McGiverin, USMJ

Printed name and title

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Return

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

23-12 (yy) I) P3223

Inventory made in the presence of :
JE La2 , kh. facwns, 6. WAZA, Te? Te ftts77

Inventory of the property taken and name of any person) seized:

tli) denco F.b3% 8900 Cal, AK Stk He, ROA 21 DE-9S4/
Tw2(2) FOR CA WAG Awe S
Owe hirilted grid Areca (120) 2bA Al fours

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: 02 03/2022 : _

Executing officer's signature

“fn. ve Wns. fe L

Printed name and title

